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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                       Case No.
     Plaintiffs,
                                                                   0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


                  PLAINTIFF ALEKSEJ GUBAREV’S NOTICE OF APPEAL
                          OF COURT’S ORDER ON REMAND
         Plaintiff Aleksej Gubarev hereby provides notice of his appeal from an order of the

  United States District Court for the Southern District of Florida; specifically, the Court’s Order

  on Remand filed December 17, 2020 (D.E. 461).
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  Dated: January 15, 2021

  Respectfully Submitted:

  /s/ Evan Fray-Witzer
  Evan Fray-Witzer (pro hac vice)
  CIAMPA FRAY-WITZER, LLP
  20 Park Plaza, Suite 505
  Boston, Massachusetts 02116
  Telephone: 617-426-0000
  Facsimile: 617-423-4855
  Evan@CFWLegal.com

  /s/ Valentin Gurvits
  Valentin D. Gurvits (pro hac vice)
  Matthew Shayefar (Fla. Bar No. 0126465)
  BOSTON LAW GROUP, PC
  825 Beacon Street, Suite 20
  Newton Centre, Massachusetts 02459
  Telephone: 617-928-1804
  Facsimile: 617-928-1802
  vgurvits@bostonlawgroup.com
  matt@bostonlawgroup.com

  /s/ Brady J. Cobb
  Brady J. Cobb (Fla. Bar No. 031018)
  COBB EDDY, PLLC
  1112 North Flagler Drive
  Fort Lauderdale, Florida 33304
  Telephone: 954-527-4111
  Facsimile: 954-900-5507
  bcobb@cobbeddy.com

  Attorneys for Aleksej Gubarev
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                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served electronically via
  the CM/ECF electronic filing system on all counsel or parties of record on the service list below
  on January 15, 2021.


                                                       /s/ Matthew Shayefar
                                                       Matthew Shayefar


                                          SERVICE LIST

  Adam Lazier (adamlazier@dwt.com)
  Adam Louis Schwartz (aschwartz@homerbonner.com, dthomas@homerbonner.com)
  Alan S. Lewis (lewis@clm.com)
  Alison Schary (alisonschary@dwt.com)
  Anjali Motgi (anjali.motgi@usdoj.gov)
  Cary McClelland (carymcclelland@dwt.com)
  Christina Hull Eikhoff (christy.eikhoff@alston.com)
  Christopher Allen Riley (chris.riley@alston.com, kristi.ramsay@alston.com)
  Jared M. Lopez (jlopez@royblack.com, civilpleadings@royblack.com, dhodson@royblack.com,
  rblack@royblack.com, rdunlap@royblack.com)
  Katherine M. Bolger (katebolger@dwt.com)
  Marcos Daniel Jimenez (mdj@mdjlegal.com, kvasquez@leoncosgrove.com)
  Nathan Siegel (nathansiegel@dwt.com)
  Rachel Elise Fugate (rfugate@shullmanfugate.com, abeene@shullmanfugate.com,
  dshullman@shullmanfugate.com, pleadings@shullmanfugate.com)
  Roy Eric Black (rblack@royblack.com)
  Ury Fischer (ufischer@lottfischer.com, cmecf@lfiplaw.com, kclayman@lottfischer.com,
  ufischer@gmail.com)
